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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                              Southern District of New York

In re        Georgina Falu Co, LLC
                                                                                                                                              23-11004-mew
                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................$3,500      (Initial Retainer)
                                                                                                                                                    ................................................

        Prior to the filing of this statement I have received .....................................................................................$3,500
                                                                                                                                                    .........................................................

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ❑ Debtor                         ✔ Other (specify)
                                         ❑                                Georgina Falu

3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

        d.      Preparation and filing of disclosure statement, retention applications, bar date application, and other necessary motions.

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:

        Appeals




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                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        07/18/2023                                               /s/ Charles Higgs
                Date                                         Charles Higgs
                                                             Signature of Attorney
                                                                                 The Law Office of Charles A. Higgs
                                                                                  2 Depot Plaza First Floor, Office 4
                                                                                           Bedford Hills, NY 10507
                                                                                            Phone: (917) 673-3768

                                                                        The Law Office of Charles A. Higgs
                                                            Name of law firm




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